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               6
                 Attorneys for Defendant, TARGET
               7 CORPORATION

               8                                   UNITED STATES DISTRICT COURT
               9              NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
              10

              11 BRYON JACKSON,                                          Case No. 3:21-cv-08458-LB

              12                      Plaintiff,                         (State Court Case No. RG21110499)

              13             v.                                          JOINT CASE MANAGEMENT
                                                                         STATEMENT
              14 TARGET CORPORATION,
                                                                         Judge:    Hon. Hon. Laurel Beeler
              15                      Defendant.                         Date:     January 27, 2022
                                                                         Time:     11:00 am
              16                                                         Dept.     Courtroom B, 15th Floor

              17

              18            Defendant hereby submits this Rule 26(f) Conference Report pursuant to this Court’s

              19 Order dated June 7, 2021.

              20            1.        Jurisdiction and Service: All known parties have been served. Jurisdiction is

              21 based on a diversity jurisdiction under 28 U.S.C. §1331 and §1343.

              22            2.        Facts: This is an assault and battery case. Plaintiff Bryon Jackson alleges he

              23 suffered injuries when a Target employee deliberately hit him with a trolley on July 7, 2021, at the

              24 Target Store located at 2700 Fifth Street, Alameda, California 94501. Plaintiff seeks monetary

              25 damages for general and punitive damages. Target disputes that its employee caused a trolley to

              26 come into contact with Plaintiff and disputes the nature and extent of Plaintiff’s injuries.
              27 ///

              28 ///

                   4863-4775-0152.2                                                      Case No. 3:21-cv-08458-LB
                                               JOINT RULE 26 INITIAL DISCLOSURE STATEMENT
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               1            3.        Legal Issues:
               2            (a) Whether Target's employee caused Plaintiff to be touched with the intent to harm or

               3                  offend him;

               4            (b) Whether Plaintiff reasonably believed that he was about to be touched in a harmful

               5                  manner;

               6            (c) Whether Plaintiff was harmed by Defendant's conduct;

               7            (d) Whether a reasonable person in Plaintiff's situation would have been offended by the

               8                  touching.

               9            (e) Whether Plaintiff suffered any injury as a result of the touching.

              10            4.        Motions: Defendant may file a motion for summary judgment. Defendant as filed
              11 a Motion to Dismiss. Both parties anticipate filing motions in limine at the time of trial.

              12            5.        Amendment of Pleadings: None known.
              13            6.        Evidence Preservation: Both parties will retain all relevant evidence and until
              14 specific discovery requests are made. Discovery is ongoing.

              15            7.        Disclosures: Both parties are still accumulating documentation and will exchange
              16 all initial disclosure materials by February 2, 2022.

              17            8.        Protective Orders for Discovery: Both parties willing to stipulate to the use of
              18 the Northern District Model Protective Order.
              19 Discovery Plan: Based on the FRCP 26(f), Both parties believe that each party is entitled to 25

              20 interrogatories. There should be no limit to the number of Requests for Production and all

              21 documents produced should be bates stamped starting at JAC-0001 for Plaintiff, and TAR-0001

              22 for Defendant Target Corporation, so as to identify the party producing them. All other discovery

              23 is to be conducted pursuant to the Federal Rules of Civil Procedure.

              24            9.        Class Actions: This is not a class action.
              25            10.       Related Cases: At this time there are no related cases.
              26            11.       Relief: Plaintiff seeks general and punitive damages as alleged in the Complaint.
              27            12.       Settlement and ADR: Defendant is willing to engage in mediation.
              28

                   4863-4775-0152.2                                2                  Case No. 3:21-cv-08458-LB
                                              JOINT CASE MANAGEMENT CONFERENCE STATEMENT
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               1            13.       Consent to Magistrate Judge for All Purposes: The parties consent to
               2 proceeding before a Magistrate Judge. Defendant has consented to proceeding before a Magistrate

               3 Judge.

               4            14.       Other References: The case is not suitable for reference to binding arbitration, a
               5 special master, or the Judicial Panel on Multidistrict Litigation.

               6            15.       Narrowing of Issues: Defendant has filed a motion to strike Plaintiff's prayer for
               7 punitive damages.

               8            16.       Expedited Schedule: Not applicable.
               9            17.       Scheduling:
              10 Proposed Dates

              11 a.         Fact discovery cutoff:                         12/23/22

              12 b.         Expert disclosure deadline:                     2/24/23

              13 c,         Last day to file dispositive motions:          3/24/23

              14 d.         Completion of expert discovery                  5/30/23

              15 e.         Pretrial conference:                           6/16/2023

              16 f.         Trial date:                                     7/17/2023

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                   4863-4775-0152.2                             3                  Case No. 3:21-cv-08458-LB
                                           JOINT CASE MANAGEMENT CONFERENCE STATEMENT
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               1            18.       Trial: Defendant requests a jury trial. Trial is estimated to last 4 days.
               2            19.       Disclosure of Non-party Interested Entities or Persons: There are no non-party
               3 interests that the Defendant is aware of at this time.

               4            20.       Professional Conduct: Both parties' attorneys of record for the parties have
               5 reviewed the Guidelines for Professional Conduct for the Northern District of California.

               6            21.       Other Matters: None.
               7
                   DATED: January 9, 2022                         MANNING & KASS
               8                                                  ELLROD, RAMIREZ, TRESTER LLP
               9

              10
                                                                  By:          /s/ David V. Roth
              11                                                        David V. Roth
                                                                        Attorneys for Defendant, TARGET
              12                                                        CORPORATION
              13
                                         10
                   DATED: January ___, 2022
              14

              15

              16                                                  By:
                                                                        Bryon Jackson
              17
                                                                        Plaintiff in Propria Persona
              18
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                   4863-4775-0152.2                             4                  Case No. 3:21-cv-08458-LB
                                           JOINT CASE MANAGEMENT CONFERENCE STATEMENT
         Case 3:21-cv-08458-LB Document 16 Filed 01/11/22 Page 5 of 6




 1                                         PROOF OF SERVICE
 2 STATE OF CALIFORNIA, COUNTY OF SAN FRANCISCO

 3        At the time of service, I was over 18 years of age and not a party to this action. I am
   employed in the County of San Francisco, State of California. My business address is One
 4 California Street, Suite 900, San Francisco, CA 94111.

 5        On January 11, 2022, I served true copies of the following document(s) described as
   JOINT CASE MANAGEMENT STATEMENT on the interested parties in this action as
 6 follows:

 7                                  SEE ATTACHED SERVICE LIST
 8         BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed the
   document(s) with the Clerk of the Court by using the CM/ECF system. Participants in the case
 9 who are registered CM/ECF users will be served by the CM/ECF system. Participants in the case
   who are not registered CM/ECF users will be served by mail or by other means permitted by the
10 court rules.

11          I declare under penalty of perjury under the laws of the State of California that the
     foregoing is true and correct.
12
            Executed on January 11, 2022, at San Francisco, California.
13

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16                                                     Diana Norton
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       Case 3:21-cv-08458-LB Document 16 Filed 01/11/22 Page 6 of 6




 1                                    SERVICE LIST
                    Jackson v. Target Corp; Case No. 3:21-CV-08458-LB
 2

 3 Bryon Jackson                               Plaintiff, In Pro Per
   1350 Marina Village Parkway
 4 Alameda, CA 94501
   Tel: (201) 776-4282
 5 Email: zaqw1478@hotmail.com

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